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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

     SAMSUNG ELECTRONICS CO., LTD., and
     SAMSUNG ELECTRONICS AMERICA,                       Case No. 1:21-cv-05205 (LGS)
     INC.,

                           Plaintiffs,

                 v.

     SOLAS OLED LTD., and NEODRON LTD.,

                           Defendants.


                             _____________
                             [PROPOSED] PROTECTIVE ORDER

        WHEREAS, Plaintiffs Samsung Electronics Co., Ltd.; Samsung Electronics America, Inc.;

and Defendants Solas OLED Ltd. and Neodron Ltd., hereafter referred to as “the Parties,” believe

that certain information that is or will be encompassed by discovery demands by the Parties

involves the production or disclosure of trade secrets, confidential business information, or other

proprietary information;

        WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance

with Federal Rule of Civil Procedure 26(c):

        THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

1.      Each Party may designate as confidential for protection under this Order, in whole or in

        part, any document, information, or material that constitutes or includes, in whole or in

        part, confidential or proprietary information or trade secrets of the Party or a Third Party

        to whom the Party reasonably believes it owes an obligation of confidentiality with respect

        to such document, information, or material (“Protected Material”). Protected Material shall

        be designated by the Party producing it by affixing a legend or stamp on such document,

        information, or material as follows: “CONFIDENTIAL.” The word “CONFIDENTIAL”


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      shall be placed clearly on each page of the Protected Material (except deposition and

      hearing transcripts) for which such protection is sought. For deposition and hearing

      transcripts, the word “CONFIDENTIAL” shall be placed on the cover page of the transcript

      (if not already present on the cover page of the transcript when received from the court

      reporter) by each attorney receiving a copy of the transcript after that attorney receives

      notice of the designation of some or all of that transcript as “CONFIDENTIAL.”

2.    With respect to documents, information, or material designated “CONFIDENTIAL,”

      “RESTRICTED - ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL

      SOURCE CODE” (collectively, “DESIGNATED MATERIAL”),1 subject to the

      provisions herein and unless otherwise stated, this Order governs, without limitation: (a) all

      documents, electronically stored information, and/or things as defined by the Federal Rules

      of Civil Procedure; (b) all pretrial, hearing or deposition testimony, or documents marked

      as exhibits or for identification in depositions and hearings; (c) pretrial pleadings, exhibits

      to pleadings, and other court filings; (d) affidavits; and (e) stipulations. All copies,

      reproductions, extracts, digests, and complete or partial summaries prepared from any

      DESIGNATED MATERIALS shall also be considered DESIGNATED MATERIAL and

      treated as such under this Order.

3.    Protected Material may be designated “CONFIDENTIAL,” “RESTRICTED -

      ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE”

      at any time. Inadvertent or unintentional production of documents, information, or material



1
  The term DESIGNATED MATERIAL is used throughout this Protective Order to refer to the
class of materials designated as “CONFIDENTIAL,” “RESTRICTED - ATTORNEYS’ EYES
ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE,” both individually and
collectively.



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     that has not been designated as DESIGNATED MATERIAL shall not be deemed a waiver

     in whole or in part of a claim for confidential treatment. Any party that inadvertently or

     unintentionally produces Protected Material without designating it as DESIGNATED

     MATERIAL may request destruction of that Protected Material by notifying the

     recipient(s), as soon as reasonably possible after the producing Party becomes aware of the

     inadvertent or unintentional disclosure, and providing replacement Protected Material that

     is properly designated. The recipient(s) shall then, as reasonably practicable, destroy all

     copies of the inadvertently or unintentionally produced Protected Materials and any

     documents, information or material derived from or based thereon. The recipient(s) shall

     not be liable for failing to treat as confidential DESIGNATED MATERIAL before it has

     been designated as such.

4.   “CONFIDENTIAL” documents, information, and material may be disclosed only to the

     following persons, except upon receipt of the prior written consent of the designating party,

     upon order of the Court, or as set forth in paragraph 11 herein:

     a.     outside counsel of record in this Action;

     b.     employees of such counsel assigned to and reasonably necessary to assist such
            counsel in the litigation of this Action;

     c.     in-house counsel for the Parties who either have decision-making authority for the
            litigation of this Action or are assisting outside counsel in the litigation of this
            Action;

     d.     up to and including three (3) designated representatives of each of the Parties to the
            extent reasonably necessary for the litigation of this Action, except that either party
            may in good faith request the other party’s consent to designate one or more
            additional representatives, the other party shall not unreasonably withhold such
            consent, and the requesting party may seek leave of Court to designate such
            additional representative(s) if the requesting party believes that the other party has
            unreasonably withheld such consent;

     e.     outside consultants or experts (i.e., not existing employees or affiliates of a Party
            or an affiliate of a Party) retained for the purpose of this litigation, provided that:


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              (1) such consultants or experts are not presently employed by the Parties hereto for
              purposes other than this Action or other litigation involving the Party; (2) before
              access is given, the consultant or expert has completed the Undertaking attached as
              Appendix A hereto and the same is served upon the producing Party with a current
              curriculum vitae of the consultant or expert—including a list of all other cases in or
              for which, during the previous four (4) years, the witness testified as an expert at
              trial or by deposition or was retained (unless the consultant or expert is bound by a
              confidentiality provision not to disclose)—at least ten (10) days before access to
              the Protected Material is to be given to that consultant or Undertaking to object to
              and notify the receiving Party in writing that it objects to disclosure of Protected
              Material to the consultant or expert. The Parties agree to promptly confer in good
              faith to resolve any such objection. If the Parties are unable to resolve any
              objection, the objecting Party may file a motion with the Court within fifteen (15)
              days of the notice, or within such other time as the Parties may agree, seeking a
              protective order with respect to the proposed disclosure. The objecting Party shall
              have the burden of proving the need for a protective order. No disclosure shall
              occur until all such objections are resolved by agreement or Court order;

     f.       independent litigation support services, including persons working for or as court
              reporters, interpreters, graphics or design services, jury or trial consulting services,
              and photocopy, document imaging, and database services retained by counsel and
              reasonably necessary to assist counsel with the litigation of this Action;

     g.       the Court and its personnel; and

     h.       a mediator to be agreed upon by the Parties, and their personnel.

5.   A Party shall designate documents, information, or material as “CONFIDENTIAL” only

     upon a good faith belief that the documents, information, or material contains confidential

     or proprietary information or trade secrets of the Party or a Third Party to whom the Party

     reasonably believes it owes an obligation of confidentiality with respect to such documents,

     information, or material.

6.   Documents, information, or material produced pursuant to any discovery request in this

     Action, including but not limited to Protected Material designated as DESIGNATED

     MATERIAL, shall be used by the Parties only in the litigation of this Action, and shall not

     be used for any other purpose. Any person or entity who obtains access to DESIGNATED

     MATERIAL or the contents thereof pursuant to this Order shall not make any copies,



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     duplicates, extracts, summaries, or descriptions of such DESIGNATED MATERIAL or

     any portion thereof except as may be reasonably necessary in the litigation of this Action.

     Any such copies, duplicates, extracts, summaries, or descriptions shall be classified

     DESIGNATED MATERIALS and subject to all of the terms and conditions of this Order.

7.   To the extent a producing Party believes that certain Protected Material qualifying to be

     designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

     limitation, the producing Party may designate such Protected Material “RESTRICTED -

     ATTORNEYS’ EYES ONLY,” or to the extent such Protected Material includes computer

     source code, *.gds files, and/or live data (that is, data as it exists residing in a database or

     databases) (“Source Code Material”), the producing Party may designate such Protected

     Material as “RESTRICTED CONFIDENTIAL SOURCE CODE.”

8.   For Protected Material designated RESTRICTED - ATTORNEYS’ EYES ONLY, access

     to, and disclosure of, such Protected Material shall be limited to individuals listed in

     paragraphs 4.a-b and 4.e-g.

9.   For Protected Material designated RESTRICTED CONFIDENTIAL SOURCE CODE, the

     following additional restrictions apply:

     a.     Access to a Party’s Source Code Material shall be provided only on “stand-alone”
            computer(s) (that is, the computer may not be linked to any network, including a
            local area network (“LAN”), an intranet or the Internet). The stand-alone
            computer(s) may be connected to (i) a printer, or (ii) a device capable of temporarily
            storing electronic copies solely for the limited purposes permitted pursuant to
            paragraphs 9.h and 9.k below. Additionally, except as provided in paragraph 9.k
            below, the stand-alone computer(s) may only be located at the offices of the
            producing Party’s outside counsel, including: for Plaintiffs, O’Melveny & Myers,
            400 S Hope St., 18th Flr, Los Angeles, California 90071; for Defendants, Russ
            August & Kabat, 12424 Wilshire Blvd, Ste 12, Los Angeles, California 90025.

     b.     The receiving Party shall make reasonable efforts to restrict its requests for such
            access to the stand-alone computer(s) to normal business hours, which for purposes
            of this paragraph shall be 8:00 a.m. through 6:00 p.m. local time. However, upon
            reasonable notice from the receiving party, the producing Party shall make


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                reasonable efforts to accommodate the receiving Party’s request for access to the
                stand-alone computer(s) outside of normal business hours. The Parties agree to
                cooperate in good faith such that maintaining the producing Party’s Source Code
                Material at the offices of its outside counsel shall not unreasonably hinder the
                receiving Party’s ability to efficiently and effectively conduct the prosecution or
                defense of this Action;

       c.       The producing Party shall provide the receiving Party with information explaining
                how to start, log on to, and operate the stand-alone computer(s) in order to access
                the produced Source Code Material on the stand-alone computer(s);

       d.       The producing Party will produce Source Code Material in computer searchable
                format on the stand-alone computer(s) as described above;

       e.       Access to Protected Material designated RESTRICTED CONFIDENTIAL
                SOURCE CODE shall be limited to outside counsel and up to three (3) outside
                consultants or experts2 (i.e., not existing employees or affiliates of a Party or an
                affiliate of a Party) retained for the purpose of this litigation and approved to access
                such Protected Materials pursuant to paragraph 4.e above. A receiving Party may
                include excerpts of Source Code Material in a pleading, exhibit, expert report,
                discovery document, deposition transcript, other Court document, provided that the
                Source Code Documents are appropriately marked under this Order, restricted to
                those who are entitled to have access to them as specified herein, and, if filed with
                the Court, filed under seal in accordance with the Court’s rules, procedures and
                orders;

       f.       To the extent portions of Source Code Material are quoted in a Source Code
                Document, either (1) the entire Source Code Document will be stamped and treated
                as RESTRICTED CONFIDENTIAL SOURCE CODE or (2) those pages
                containing quoted Source Code Material will be separately stamped and treated as
                RESTRICTED CONFIDENTIAL SOURCE CODE;

       g.       Except as set forth in paragraph 9.k below, no electronic copies of Source Code
                Material shall be made without prior written consent of the producing Party, except
                as necessary to create documents which, pursuant to the Court’s rules, procedures
                and order, must be filed or served electronically;

       h.       The receiving Party shall be permitted to make a reasonable number of printouts
                and photocopies of Source Code Material, all of which shall be designated and
                clearly labeled “RESTRICTED CONFIDENTIAL SOURCE CODE,” and the
                receiving Party shall maintain a log of all such files that are printed or photocopied;

2
 For the purposes of this paragraph, an outside consultant or expert is defined to include the outside
consultant’s or expert’s direct reports and other support personnel, such that the disclosure to a
consultant or expert who employs others within his or her firm to help in his or her analysis shall
count as a disclosure to a single consultant or expert.



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      i.       Should such printouts or photocopies be transferred back to electronic media, such
               media shall be labeled “RESTRICTED CONFIDENTIAL SOURCE CODE” and
               shall continue to be treated as such;

      j.       If the receiving Party’s outside counsel, consultants, or experts obtain printouts or
               photocopies of Source Code Material, the receiving Party shall ensure that such
               outside counsel, consultants, or experts keep the printouts or photocopies in a
               secured locked area in the offices of such outside counsel, consultants, or expert.
               The receiving Party may also temporarily keep the printouts or photocopies at: (i)
               the Court for any proceedings(s) relating to the Source Code Material, for the dates
               associated with the proceeding(s); (ii) the sites where any deposition(s) relating to
               the Source Code Material are taken, for the dates associated with the deposition(s);
               and (iii) any intermediate location reasonably necessary to transport the printouts
               or photocopies (e.g., a hotel prior to a Court proceeding or deposition); and

      k.       A producing Party’s Source Code Material may only be transported by the
               receiving Party at the direction of a person authorized under paragraph 9.e above
               to another person authorized under paragraph 9.e above, on paper or removable
               electronic media (e.g., a DVD, CD-ROM, or flash memory “stick”) via hand carry,
               Federal Express or other similarly reliable courier. Source Code Material may not
               be transported or transmitted electronically over a network of any kind, including a
               LAN, an intranet, or the Internet. Source Code Material may only be transported
               electronically for the purpose of Court proceeding(s) or deposition(s) as set forth in
               paragraph 9.j above and is at all times subject to the transport restrictions set forth
               herein. But, for those purposes only, the Source Code Materials may be loaded
               onto a stand-alone computer.

10.   Any attorney representing a Party, whether in-house or outside counsel, and any person

      associated with a Party and permitted to receive the other Party’s Protected Material that

      is designated RESTRICTED - ATTORNEYS’ EYES ONLY and/or RESTRICTED

      CONFIDENTIAL SOURCE CODE (collectively “HIGHLY SENSITIVE MATERIAL”),

      who obtains, receives, has access to, or otherwise learns, in whole or in part, the other

      Party’s HIGHLY SENSITIVE MATERIAL under this Order shall not prepare, prosecute,

      supervise, or assist in the preparation or prosecution of any patent application pertaining to

      the fields of the inventions of the patents-in-suit on behalf of the receiving Party or its

      acquirer, successor, predecessor, or other affiliate during the pendency of this Action and

      for one year after its conclusion, including any appeals. To ensure compliance with the



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      purpose of this provision, each Party shall create an “Ethical Wall” between those persons

      with access to HIGHLY SENSITIVE MATERIAL and any individuals who, on behalf of

      the Party or its acquirer, successor, predecessor, or other affiliate, prepare, prosecute,

      supervise or assist in the preparation or prosecution of any patent application pertaining to

      the fields of the inventions of the patents-in-suit. To avoid any doubt, “prosecution” as

      used in this paragraph does not include participating or assisting in challenging or

      defending any patents pertaining to the fields of the inventions of the patents-in-suit before

      a domestic or foreign agency (including, but not limited to, a reissue protest, ex parte

      reexamination, inter partes reexamination, inter partes review, post-grant review, or

      covered business method review), provided that such participation or assistance shall not,

      directly or indirectly, include suggesting, proposing for substitution, drafting, or amending

      patent claim language.

11.   Any attorney representing a Party, whether in-house or outside counsel, and any person

      associated with a Party and permitted to receive the other Party’s Protected Material that

      is designated RESTRICTED - ATTORNEYS’ EYES ONLY and/or RESTRICTED

      CONFIDENTIAL SOURCE CODE, who obtains, receives, or otherwise learns the other

      Party’s RESTRICTED - ATTORNEYS’ EYES ONLY and/or RESTRICTED

      CONFIDENTIAL SOURCE CODE material under this Order shall not participate in the

      acquisition of patents (including patent applications), or the rights to any such patents or

      patent applications with the right to sublicense, pertaining to the fields of the inventions of

      the patents-in-suit on behalf of the receiving Party or its acquirer, successor, predecessor,

      or other affiliate during the pendency of this Action and for one year after its conclusion,

      including any appeals. To ensure compliance with the purpose of this provision, each Party




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      shall create an “Ethical Wall” between those persons with access to HIGHLY SENSITIVE

      MATERIAL and any individuals who participate in the evaluation for possible acquisition,

      or the acquisition of any patent or patent application pertaining to the fields of the

      inventions of the patents-in-suit.

12.   Nothing in this Order shall require production of documents, information, or other material

      that a Party contends is protected from disclosure by the attorney-client privilege, the work

      product doctrine, or other privilege, doctrine, or immunity. If documents, information, or

      other material subject to a claim of attorney-client privilege, work product doctrine, or

      other privilege, doctrine, or immunity is inadvertently or unintentionally produced, such

      production shall not constitute a waiver of, or estoppel as to, any such privilege, doctrine,

      or immunity.     Any Party that inadvertently or unintentionally produces documents,

      information, or other material it reasonably believes are protected under the attorney-client

      privilege, work product doctrine, or other privilege, doctrine, or immunity may obtain the

      return of such documents, information, or other material by promptly notifying the

      recipient(s) and providing a privilege log for the inadvertently or unintentionally produced

      documents, information, or other material. The recipient(s) shall gather and return all

      copies of such documents, information, or other material to the producing Party, or certify

      in writing to the producing Party that such documents, information, or other material have

      been destroyed as reasonably practicable.

13.   There shall be no disclosure of any DESIGNATED MATERIAL by any person authorized

      to have access thereto to any person who is not authorized for such access under this Order.

      The Parties are hereby ORDERED to safeguard all such documents, information, and

      material to protect against disclosure to any unauthorized persons or entities.




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14.   Nothing contained herein shall be construed to prejudice any Party’s right to use any

      DESIGNATED MATERIAL in taking testimony at any deposition or hearing, provided

      that the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to

      have access to the DESIGNATED MATERIAL by virtue of his or her employment with

      the designating party, (ii) identified in the DESIGNATED MATERIAL as an author,

      addressee, or copy recipient of such information, (iii) although not identified as an author,

      addressee, or copy recipient of such DESIGNATED MATERIAL, has, in the ordinary

      course of business, seen such DESIGNATED MATERIAL, (iv) a current or former officer,

      director or employee of the producing Party or a current or former officer, director or

      employee of a company affiliated with the producing Party; (v) counsel for a Party,

      including outside counsel and in-house counsel (subject to paragraph 8 of this Order);

      (vi) an independent contractor, consultant, and/or expert retained for the purpose of this

      litigation; (vii) court reporters and videographers; (viii) the Court; or (ix) other persons

      entitled hereunder to access to DESIGNATED MATERIAL.                        DESIGNATED

      MATERIAL shall not be disclosed to any other persons unless prior authorization is

      obtained from counsel representing the producing Party or from the Court.

15.   Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

      deposition or hearing transcript, designate the deposition or hearing transcript or any

      portion thereof as “CONFIDENTIAL,” “RESTRICTED - ATTORNEY’ EYES ONLY,”

      or “RESTRICTED CONFIDENTIAL SOURCE CODE” pursuant to this Order. Access

      to the deposition or hearing transcript so designated shall be limited in accordance with the

      terms of this Order. Until expiration of the 30-day period, the entire deposition or hearing

      transcript shall be treated as “RESTRICTED - ATTORNEY’ EYES ONLY.”




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16.   Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

      shall remain under seal until further order of the Court. The filing party shall be responsible

      for informing the Clerk of the Court that the filing should be sealed and for placing the

      legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the

      caption and conspicuously on each page of the filing. Exhibits to a filing shall conform to

      the labeling requirements set forth in this Order. If a pretrial pleading filed with the Court,

      or an exhibit thereto, discloses or relies on confidential documents, information, or

      material, such confidential portions shall be redacted to the extent necessary and the

      pleading or exhibit filed publicly with the Court.

17.   The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

      the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of

      this Action, or from using any information contained in DESIGNATED MATERIAL at

      the trial of this Action, subject to any pretrial order issued by this Court.

18.   A Party may request in writing to the other Party that the designation given to any

      DESIGNATED MATERIAL be modified or withdrawn. If the designating Party does not

      agree to re-designation within five (5) days of receipt of the written request, the requesting

      Party may apply to the Court for relief. Upon any such application to the Court, the burden

      shall be on the designating Party to show why its classification is proper. Such application

      shall be treated procedurally as a motion to compel pursuant to Federal Rules of Civil

      Procedure 37, subject to the Rule’s provisions relating to sanctions. In making such

      application, the requirements of the Federal Rules of Civil Procedure and the Local Rules

      of the Court shall be met. Pending the Court’s determination of the application, the

      designation of the designating Party shall be maintained.




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19.   Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed in

      accordance with the terms of this Order shall be advised by counsel of the terms of this

      Order, shall be informed that he or she is subject to the terms and conditions of this Order,

      and shall sign an acknowledgment that he or she has received a copy of, has read, and has

      agreed to be bound by this Order. A copy of the acknowledgment form is attached as

      Appendix A.

20.   To the extent that any discovery is taken of persons who are not Parties to this Action

      (“Third Parties”) and in the event that such Third Parties contended the discovery sought

      involves trade secrets, confidential business information, or other proprietary information,

      then such Third Parties may agree to be bound by this Order and entitled to its protections.

21.   To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

      designate as “CONFIDENTIAL” or “RESTRICTED - ATTORNEYS’ EYES ONLY” any

      documents, information, or other material, in whole or in part, produced or given by such

      Third Parties. Where a Third Party designates any documents, information, or other

      material as provided herein, experts previously disclosed and approved hereunder prior to

      said Third Party’s production of any DESIGNATED MATERIAL need not be disclosed

      to said Third Party. Subsequently disclosed experts need not be disclosed to said Third

      Party before that Third Party’s DESIGNATED MATERIAL may be disclosed thereto.

22.   If a Party is served with a subpoena issued by a court, arbitral, administrative, or

      legislative body, or with a court order issued in other litigation that compels disclosure of

      any information or items designated in this action as “CONFIDENTIAL” or

      “RESTRICTED – ATTORNEYS’ EYES ONLY” or “RESTRICTED CONFIDENTIAL

      SOURCE CODE” that Party must: (a) promptly notify in writing the designating Party.




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      Such notification shall include a copy of the subpoena or court order; (b) promptly notify

      in writing the person who caused the subpoena or order to issue in the other litigation that

      some or all of the material covered by the subpoena or order is subject to this Protective

      Order. Such notification shall include a copy of this Protective Order; and (c) cooperate

      with respect to all reasonable procedures sought to be pursued by the designating Party

      whose Protected Material may be affected. If the designating Party timely seeks a

      protective order, the Party served with the subpoena or court order shall not produce any

      information designated in this action as “CONFIDENTIAL” or “RESTRICTED –

      ATTORNEYS’ EYES ONLY” or “RESTRICTED CONFIDENTIAL SOURCE CODE”

      before a determination by the court from which the subpoena or order issued, unless the

      Party has obtained the designating Party’s permission. The designating Party shall bear

      the burden and expense of seeking protection in that court of its confidential material –

      and nothing in these provisions should be construed as authorizing or encouraging a

      receiving Party in this action to disobey a lawful directive from another court.

23.   Within thirty (30) days of final termination of this Action, including any appeals, all

      DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes,

      summaries, descriptions, and excerpts or extracts thereof (excluding excerpts or extracts

      incorporated into any privileged memoranda of the Parties and materials which have been

      admitted into evidence in this Action), shall at the producing Party’s election either be

      returned to the producing Party or be destroyed as reasonably practicable. The receiving

      Party shall verify the return or destruction by affidavit furnished to the producing Party,

      upon the producing Party’s request.




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24.   The failure to designate documents, information, or material in accordance with this Order

      and the failure to object to a designation at a given time shall not preclude the filing of a

      motion at a later date seeking to impose such designation or challenging the propriety

      thereof. The entry of this Order and/or the production of documents, information, and

      material hereunder shall in no way constitute a waiver of any objection to the furnishing

      thereof, all such objections being hereby preserved.

25.   Any Party knowing or believing that any other party is in violation of or intends to violate

      this Order and has raised the question of violation or potential violation with the opposing

      party and has been unable to resolve the matter by agreement may move the Court for such

      relief as may be appropriate in the circumstances. Pending disposition of the motion by

      the Court, the Party alleged to be in violation of or intending to violate this Order shall

      discontinue the performance of and/or shall not undertake the further performance of any

      action alleged to constitute a violation of this Order.

26.   Production of DESIGNATED MATERIAL by each of the Parties shall not be deemed a

      publication of the documents, information, and material (or the contents thereof) produced

      so as to void or make voidable whatever claim the Parties may have as to the proprietary

      and confidential nature of the documents, information, or other material or its contents.

27.   Nothing in this Order shall be construed to effect an abrogation, waiver, or limitation of

      any kind on the rights of each of the Parties to assert any applicable discovery or trial

      privilege.

28.   Each of the Parties shall also retain the right to file a motion with the Court (a) to modify

      this Order to allow disclosure of DESIGNATED MATERIAL to additional persons or




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              entities if reasonably necessary to prepare and present this Action and (b) to apply for

              additional protection of DESIGNATED MATERIAL.

       29.    A Party shall not use the other party’s DESIGNATED MATERIAL documents or

              information for any purpose not directly related to this Samsung Electronics Co., Ltd. v.

              Solas OLED Ltd., Case No. 1:21-cv-05205 (LGS) (S.D.N.Y.), or Samsung Display Co.,

              Ltd. v. Solas OLED Ltd., Case No. 1:21-cv-07201 (LGS) (S.D.N.Y.), without the other

              Party’s approval or as otherwise permitted by a cross-use agreement between the Parties.

The parties are advised that the Court retains discretion as to whether to afford confidential treatment to
redacted information in Orders and Opinions. The parties are further directed to follow the Court's Individual
Rule I.D.3 regarding motions for approval of sealed or redacted filings.

                         5
        Dated: November ____, 2021                  SO ORDERED:
               New York, NY

                                                    ____________________________________

                                                           LORNA G. SCHOFIELD
                                                           UNITED STATES DISTRICT JUDGE




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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

     SAMSUNG ELECTRONICS CO., LTD., and
     SAMSUNG ELECTRONICS AMERICA,                        Case No. 1:21-cv-05205 (LGS)
     INC.,

                         Plaintiffs,

                 v.

     SOLAS OLED LTD., and NEODRON LTD.,

                         Defendants.

                              APPENDIX A
           UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                          PROTECTIVE ORDER

I,                                                               , declare that:

1.      My address is                                                                        .

My current employer is                                                                       .

My current occupation is                                                                         .

2.      I have received a copy of the Protective Order in this action. I have carefully read and

        understand the provisions of the Protective Order.

3.      I will comply with all of the provisions of the Protective Order. I will hold in confidence,

        will not disclose to anyone not qualified under the Protective Order, and will use only for

        purposes of this action any information designated as “CONFIDENTIAL,”

        “RESTRICTED - ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL

        SOURCE CODE” that is disclosed to me.

4.      Promptly upon termination of these actions, I will return all documents and things

        designated as “CONFIDENTIAL,” “RESTRICTED - ATTORNEYS’ EYES ONLY,” or

        “RESTRICTED CONFIDENTIAL SOURCE CODE” that came into my possession, and



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      all documents and things that I have prepared relating thereto, to the outside counsel for

      the party by whom I am employed.

5.    I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

      Protective Order in this action.

      I declare under penalty of perjury that the foregoing is true and correct.

Signature ________________________________________

Date ___________________________________________




                                               17
